Case 17-40753-JMM        Doc 35      Filed 11/16/17 Entered 11/16/17 15:36:15            Desc Main
                                     Document     Page 1 of 3


R. Sam Hopkins, Chapter 7 Trustee
Correspondence Email: Samhopkins@Cableone.Net
Chapter 7 Bankruptcy Trustee
P.O. Box 3014
Pocatello, ID 83206
Telephone: (208) 478-7978
Fax: (208) 478-7976

                         UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF IDAHO

 In Re:                                )
                                       )
 TRAVIS, SEAN PATRICK                  )       CASE NO. 17-40753 JDP
                                       )
                                       )       CHAPTER 7
                                       )
                         Debtor(s)     )

                APPLICATION TO EMPLOY AUCTIONEER BY TRUSTEE

                     Notice of Trustee’s Application to Employ Auctioneer
                         and Opportunity to Object and for a Hearing

No Objection. The Court may consider this request for an order without further notice or hearing
unless a party in interest files an objection within twenty-one (21) days of the date of service of
this notice.

If an objection is not filed within the time permitted, the Court may consider that there is no
opposition to the granting of the requested relief and may grant the relief without further notice
or hearing.

Objection. Any objection shall set out the legal and/or factual basis for the objection. A copy of
the objection shall be served on the movant.

Hearing on Objection. The objecting party shall also contact the court’s calendar clerk to
schedule a hearing on the objection and file a separate notice of hearing.

          COMES NOW R. SAM HOPKINS, Trustee and hereby represents and applies to the Court

as follows:

   1. That your Applicant is the duly appointed and acting Trustee in Bankruptcy of the
Case 17-40753-JMM           Doc 35   Filed 11/16/17 Entered 11/16/17 15:36:15             Desc Main
                                     Document     Page 2 of 3


bankruptcy estate of the above-named Debtor in proceedings pending under Chapter 7 of the

Bankruptcy Code in this Court.

    1. That your Applicant desires to liquidate and dispose of property of the estate at a public

auction, and retain a professional auctioneer to act as official auctioneer for the estate as to said

sale.

    2. That your Applicant, after investigation and research, has determined it would be in the

best interest of the estate to contract with Prime Time Auctions, Inc., 3400 South 5th, Pocatello,

Idaho 83201, to act as official auctioneer as to said sale. That attached hereto and incorporated

herein is a true and accurate copy of the proposed Auction Agreement executed by the proposed

Auctioneer and Trustee.

    3. That in addition, said proposed Auction Agreement sets forth specifically therein various

details and effects concerning the conduct of sale as proposed, which Trustee represents to the

Court constitute the most reasonable manner to conduct said sale and is in the best interest of the

creditors of this estate.

    1. That to the best of Applicant’s knowledge, information and belief, the proposed

Auctioneer has no connection, other than noted below, with the debtor(s), creditors, Trustee, or

any other party in interest, their respective attorneys and accountants, the U.S. Trustee, or any

person employed in the office of the U.S. Trustee and is a disinterested person as the term is

defined by 11 USC 101(14) and is in fact qualified and competent to conduct said sale of behalf

of said estate. It is possible that the debtor and/or other creditors in this case may have bought or

sold items at a Prime Time auction in the past. Such activity does not represent a conflict in this

case. Auctioneer is regularly employed by the Trustee to auction bankruptcy estate property and

Auctioneer requires bidders sign a contract to bid. There are no other known connections to the
Case 17-40753-JMM        Doc 35    Filed 11/16/17 Entered 11/16/17 15:36:15              Desc Main
                                   Document     Page 3 of 3


parties in interest. That attached hereto and incorporated herein is a true and accurate copy of the

Verified Statement of Auctioneer to be Employed executed by the proposed Auctioneer.

   WHEREFORE, Applicant prays for an order of this Court approving the employment of said

Prime Time Auctions, Inc., as official Auctioneer of the bankruptcy estate for the purpose of

conducting said sale subject to the terms and conditions set forth in the attached Auction

Agreement, and for such other and further relief as to the Court seems just and proper in the

premises.


Dated:         November 16, 2017
                                              /s/ R. Sam Hopkins______
                                              R. SAM HOPKINS, Trustee

                                    CERTIFICATE OF SERVICE

       I hereby certify that on November 16, 2017, I electronically filed the foregoing with the
Clerk of the Court using the CM/ECF system, which sent a Notice of Electronic Filing to the
individuals with the term "ECF" noted next to their name. I further certify that, on the same date,
I have mailed by United States Postal Service the foregoing document to the following non-
CM/ECF Registered Participant(s) listed below.

U.S. Assistant Trustee, ECF
Travis, Sean Patrick, Po Box 411, Island Park, ID 83429
Ryan E Farnsworth, ECF

                                          /s/   Amber Williams
                               Amber Williams , Case Administrator
